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8

9                              UNITED STATES DISTRICT COURT
10                                        DISTRICT OF NEVADA
11   Gary Tai, ShuiKee Company Limited, and Golden
     Essence Global Limited,                               Case No. 2:17-cv-02588-MMD-PAL
12
                            Plaintiffs,                        Plaintiffs’ Proposed Amended
13                                                         Discovery Plan and Scheduling Order
            v.
14
     JC Funding-5, LLC, Jeff N. Crossland, D-Design
15   LNO Inc., Leslie Dotson, Does I-X, and Roes
     Corporation I-X,
16
                            Defendants.
17

18          Plaintiffs Gary Tai, ShuiKee Company Limited, and Golden Essence Global Limited
19   (the “Plaintiffs”)1, by and though the undersigned counsel of record, files the following
20   Proposed Amended Discovery Plan and Scheduling Order in accordance with the Court’s
21   Minute Order dated May 2, 2018 at Docket No. 31. That Minute Order ordered the parties to
22   a Proposed Amended Discovery Plan and Scheduling Order within 14 days after decision on
23   Defendant Jeffrey N. Crossland’s Motion and Motion to Quash Summons of Service and
24   Complaint for Lack of Personal Jurisdiction; Memorandum of Points and Authorities at Docket
25

26   1
      This document is being filed on behalf of Plaintiffs only as their counsel was unable to obtain
27   consent to submission on behalf of the only remaining and non-defaulted Defendant Leslie
     Dotson by the deadline Order by the Court.
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1    No. 12 (“Motion to Quash”). On May 10, 2018, the Court issued its Order regarding the Motion
2    to Quash at Docket No. 32.2
3    I.      PROPOSED DISCOVERY PLAN; APPLICABLE DEADLINES
4            A.     Discovery Cut-Off Date:
5                   1.      November 20, 2018 (180 days from the date this Proposed Amended
6                           Discovery Plan and Scheduling Order is due on May 24, 2018.
7            B.     Amending the Pleadings and Adding Parties:
8                   1.      August 22, 2018 (90 days prior to the close of discovery).
9            C.     Fed. R. Civ. P. 26(a)(2) Disclosures (Experts):
10                  1.      Initial Expert Disclosures: September 21, 2018 (60 days before the
11                          close of discovery)
12                  2.      Rebuttal Expert Disclosures: October 21, 2018 (30 days after the initial
13                          disclosure of experts)
14           D.     Dispositive Motions:
15                  1.      December 20, 2018 (30 days after the discovery cut-off date)
16           E.     Joint Pretrial Order:
17                  1.      January 19, 2019 (30 days after dispositive motion deadline)
18                          (a)    In the event dispositive motions are filed, the deadline for filing
19                                 the joint pretrial order shall be suspended until 30 days after
20                                 decision on the dispositive motions or further order.
21           F.     Fed. R. Civ. P. 26(a)(3) Disclosures
22                  1.      January 19, 2019 (the date the joint pretrial order is submitted)
23           G.     Interim Status Report:
24
     2
25     Due to the nature of the Motion to Quash, which was premised on lack of personal jurisdiction
     as asserted by Defendant Jeff N. Crossland (“Crossland”) and the difficulty of conducting
26   discovery to assess the claims and defenses at issue in this matter without Crossland’s
     participation, the parties exchanged initial disclosures but postponed further discovery pending
27   the ruling on Crossland’s Motion to Quash, which was submitted for approximately six
     months.
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1             1.    September 21, 2018 (60 days prior to the close of discovery)
2       H.    Motions in Limine:
3             1.    Motions in Limine: 30 days before trial
4             2.    Responses to Motions in Limine: 14 days after service of the Motions
5                   in Limine
6             3.    Replies will be allowed only with leave of the Court.
7                                         DATED this 24th day of May, 2018.
8                                         HOLLEY DRIGGS WALCH
                                          FINE WRAY PUZEY & THOMPSON
9
                                          /s/ Andrea M. Gandara
10                                        RICHARD F. HOLLEY, ESQ.
                                          Nevada Bar No. 3077
11                                        ANDREA M. GANDARA, ESQ.
                                          Nevada Bar No. 12580
12                                        400 South Fourth Street, Third Floor
                                          Las Vegas, Nevada 89101
13                                        Attorneys for Plaintiffs Gary Tai, ShuiKee
                                          Company Limited, and Golden Essence Global
14                                        Limited
15
                                          IT IS SO ORDERED:
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17

18                                        UNITED STATES DISTRICT JUDGE/
                                          UNITED STATES MAGISTRATE JUDGE
19                                        DATED: June 1, 2018
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